   Case 3:19-md-02885-MCR-HTC Document 3936 Filed 11/17/23 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                      Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to the               Judge M. Casey Rodgers
Claimants Identified on Exhibit A          Magistrate Judge Hope T. Cannon


                  CASE MANAGEMENT ORDER NO. 74
    (Notice and Order to MSA I Eligible Claimants and Primary Counsel)

      The Initial Registration Date for MSA I Eligible Claimants is January 25,

2023. See CMO 72 (Registration Deadlines), ECF No. 3933. Registration Forms

were sent to the claimants identified on Exhibit A between October 25, 2023 and

today, and before that, to their Primary Counsel.     Surprisingly, as of now, a

staggering 30,101 claimants have not so much as logged in to Archer’s settlement

portal to review their Registration Forms, much less made an election regarding

participation in the settlement program.    Archer has repeatedly attempted to

contact these claimants to encourage them to log in and review their Registration

Form, albeit to no avail. This development is concerning given the impending

initial registration deadline and the consequences for failing to timely register.

Pursuant to MSA I, ECF No. 3809-1 at 16, and Case Management Order No. 58

(Settlement Implementation), ECF No. 3812 at 2, Eligible Claimants who fail to

timely submit a Registration Form reflecting their election are ineligible to
    Case 3:19-md-02885-MCR-HTC Document 3936 Filed 11/17/23 Page 2 of 2
                                                                                        Page 2 of 2


participate in the settlement program, and their filed cases will be dismissed with

prejudice.1

       At this time, Primary Counsel for the claimants identified on Exhibit A are

directed to contact their clients about their Registration Forms, advise and assist

them in navigating the registration process, and explain the consequences for

failing to timely register their election. Maintaining communication with a client

concerning his or her case and any potential settlement is a fundamental

professional obligation of all attorneys. In this context, particularly given the

reported instances of attempted scammer activity, an attorney’s obligation to

communicate with his or her clients regarding the requirements of the settlement

program is paramount. Failure to do so may result in sanctions against counsel.

       SO ORDERED, on this 17th day of November, 2023.


                                      M. Casey Rodgers
                                      M. CASEY RODGERS
                                      UNITED STATES DISTRICT JUDGE




       1
          No claimant is required to participate in the settlement program but every eligible
claimant is required to make an election as to whether or not to participate and so notify the
Settlement Administrator and thus the Court. A claimant’s failure to do so will deprive the
claimant of the opportunity to participate in the settlement as well as the opportunity to continue
as a Litigating Plaintiff in the MDL.
